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                             UNITED STATES DISTRICT COURT
                             FOR THE DISTRICT OF COLUMBIA


UNITED STATES OF AMERICA                      :
                                              :        CRIMINAL NO. 24–265 (TNM)
                v.                            :
                                              :
ROBERT P. BURKE,                              :
                                              :
YONGCHUL “CHARLIE” KIM, and                   :
                                              :
MEGHAN MESSENGER,                             :
                                              :
                        Defendants.           :


                     UNOPPOSED MOTION FOR PROTECTIVE ORDER

        The United States of America, by and through its undersigned attorneys, hereby
respectfully moves the Court for the entry of a protective order governing the production of
discovery by the parties in the above-captioned case.          The United States and counsel for
defendant Robert Burke have reached an agreement as to the proposed protective order.          The
United States is authorized to represent to the Court that defendant Robert P. Burke does not
oppose this motion or the entry of the attached protective order.      Because, to date, defendants
Kim and Messenger have not retained permanent counsel, the Government is unable to provide
their position as to this protective order.

                                                      Respectfully submitted,

      MATTHEW M. GRAVES                               COREY R. AMUNDSON
      UNITED STATES ATTORNEY                          Chief, Public Integrity Section
      D.C. Bar No. 481052                             U.S. Department of Justice

 By         /s/                                               /s/
 :  Joshua Rothstein                                  Trevor Wilmot
    Assistant United States Attorney                  Kathryn E. Fifield
    NY Bar Number 4453759                             Trial Attorneys
    601 D Street N.W.                                 1301 New York Ave. NW
    Washington, DC 20530                              Washington, D.C. 20530
    Office: (202) 252-4490                            Office: (202) 514-1412

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                             FOR THE DISTRICT OF COLUMBIA


UNITED STATES OF AMERICA                       :
                                               :       CRIMINAL NO. 24–265 (TNM)
                v.                             :
                                               :
ROBERT P. BURKE,                               :
                                               :
YONGCHUL “CHARLIE” KIM, and                    :
                                               :
MEGHAN MESSENGER,                              :
                                               :
                       Defendants.             :


                     PROTECTIVE ORDER GOVERNING DISCOVERY

       To expedite the flow of discovery material between the parties and adequately protect

personal identity information entitled to be kept confidential, it is, pursuant to the Court’s authority

under Fed. R. Crim. P. 16(d)(1) and with the consent of defendant Robert P. Burke, ORDERED:

       1.       All materials provided by the United States in preparation for, or in connection

with, any stage of this case (collectively, “the covered materials”) are subject to this protective

order (“the Order”) and may be used by the defendant(s), the legal defense team, and defense

counsel solely in connection with the defense of this case, and for no other purpose, and in

connection with no other proceeding, without further order of this Court.

       2.       Legal Defense Team: The “legal defense team” includes defense counsel (defined

as counsel of record in this case, including any post-conviction or appellate counsel) and any

attorneys, investigators, paralegals, support staff, and expert witnesses who are advising or

assisting defense counsel in connection with this case. The legal defense team shall not include the

defendant or the defendant’s family members, friends, or associates.


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       3.       The defendant(s) and the legal defense team shall not copy or reproduce the

materials except in order to provide copies of the materials for use in connection with this case by

defendant(s) and the legal defense team. Such copies and reproductions shall be treated in the same

manner as the original materials. The defendant(s) and the legal defense team shall not disclose

any notes or records of any kind that they make in relation to the contents of the materials and all

such notes or records are to be treated in the same manner as the original materials.

                                        Sensitive Materials

       4.       The United States may produce materials containing personal identity information

as identified in Rule 49.1 of the Federal Rules of Criminal Procedure, and other materials as set

forth below, to defense counsel, pursuant to the defendant’s discovery requests. Such materials

may be designated as “Sensitive.” Sensitive materials shall be plainly marked as “Sensitive” by

the United States prior to disclosure. Sensitive materials may also include the following:

             a. Telephone numbers, email addresses, driver’s license numbers, and similar unique
                identifying information;
             b. Information regarding the government’s confidential sources;
             c. Identifying information, including true names and photographs, regarding
                government agents who acted in an undercover capacity with respect to this
                investigation;
             d. Information that may jeopardize witness security;
             e. Contact information for, photographs of, and private conversations with
                individuals that do not appear to be related to the criminal conduct in this case;
             f. Medical or mental health records;
             g. Sources and methods law-enforcement officials have used, and will continue to
                use, to investigate other criminal conduct;
             h. Information that may jeopardize an ongoing or future investigation;
             i. Tax returns or tax information.

       5.       Limitations on Dissemination of Sensitive Materials: No sensitive materials, or

the information contained therein, may be disclosed to any persons other than the defendant(s), the

legal defense team, persons who are interviewed as potential witnesses, counsel for potential


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witnesses, and other persons to whom the Court may authorize disclosure (collectively,

“authorized persons”). Potential witnesses and their counsel may be shown copies of the materials

as necessary to prepare the defense, but they may not retain copies without prior permission of the

Court. Materials may also be disclosed to the person to whom the Sensitive information solely and

directly pertains, without prior notice to the United States and authorization from the Court.

      6.        Court Filings. Absent prior agreement by the parties or permission from the Court,

no party shall disclose materials designated as Sensitive in any public filing with the Court. Such

materials shall be submitted under seal in accordance with Local Criminal Rule 49(f)(6), after

filing an accompanying motion for leave to file under seal. Defendant may include in a public

document Sensitive information relating solely and directly to the defendant.

       7.       Court Hearings. The restrictions in this Order shall not limit either party in the use

of the materials in judicial proceedings in this case. The procedures for use of designated Sensitive

materials during any hearing or the trial of this matter shall be determined by the parties and the

Court in advance of the hearing or trial. No party shall disclose materials designated Sensitive in

open court without agreement by the parties that such materials may be disclosed in open court or

prior consideration by the Court.

       8.       Storage of Sensitive Materials. Sensitive materials must be maintained in the

custody and control of the legal defense team. Defense counsel may show Sensitive materials to

the defendant as necessary to assist in preparation of the defense, however, defense counsel may

not provide a copy of Sensitive materials to the defendant. Moreover, if defense counsel does show

Sensitive materials to the defendant, defense counsel may not allow the defendant to write down

any personal identity information as identified in Rule 49.1 of the Federal Rules of Criminal

Procedure, or other identifying information, including telephone numbers, email addresses,

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driver’s license numbers, and similar unique identifying information, that is contained in the

Sensitive materials. If the defendant takes notes regarding Sensitive materials, defense counsel

must inspect those notes to ensure that the defendant has not copied down personal identity

information, including the categories set forth in this paragraph.

        9.       Automatic Exclusions from this Order. This Order does not apply to materials
that:
              a. Are, or later become, part of the public court record, including materials that have
                 been received in evidence in this or other public trials or hearings;

              b. Were derived directly from defendant or that pertain solely to defendant.
                 Examples of such materials include defendant’s own financial records, telephone
                 records, digital device downloads, social media records, electronic
                 communications, arrest records, and statements to law enforcement; and

              c. Materials that the defense obtains by means other than discovery.

        10.      Disputes. The parties shall make a good faith effort to resolve any dispute about

a sensitivity designation before requesting the Court’s intervention. The United States may agree

to remove a sensitivity designation without further order of this Court. Whenever the redaction of

specified information will resolve the basis for which a sensitivity designation was applied, the

United States will agree to redaction if practicable and not unduly burdensome, and such redaction

will render the materials no longer subject to this Order. Any agreement to remove a sensitivity

designation or to redact specific information shall be memorialized in writing.

                                         Scope of this Order
        11.      Modification Permitted. Nothing in this Order shall prevent any party from

seeking modification of this Order nor prevent the defense from contesting a sensitivity

designation. The parties agree that the burden of demonstrating the need for a protective order

remains with the government at all times.


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         12.   Failure Not Waiver. The failure by the United States to designate any materials as

“Sensitive” upon disclosure shall not constitute a waiver of the United States’ ability to later

designate the materials as Sensitive but the government must separately identify and memorialize

the changed status of those materials in writing.

         13.   No Ruling on Discoverability or Admissibility. This Order does not constitute

a ruling on the question of whether any particular material is properly discoverable or admissible

and does not constitute any ruling on any potential objection to the discoverability or admissibility

of any material.

         14.   Government’s Discovery Obligations. Nothing in this Order modifies the United

States’ obligations at any stage of discovery in this case pursuant to Federal Rules of Criminal

Procedure 16 and 26.2, Local Criminal Rule 5.1, 18 U.S.C. § 3500 (the Jencks Act), and the

government’s general obligation to produce exculpatory and impeachment information in criminal

cases.

         15.   Defense Counsel’s Obligations. Defense counsel must provide a copy of this

Order to, and review the terms of this Order with, members of the legal defense team, defendant,

and any other authorized person, before providing them access to Sensitive materials.




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       16.     Duration.    The terms of this Order shall remain in effect after the conclusion of

this case and the parties shall be bound by it unless otherwise ordered by the Court.




       SO ORDERED this _____ day of __________, 2024.



                                             _____________________________________
                                             THE HONORABLE TREVOR N. MCFADDEN
                                             UNITED STATES DISTRICT JUDGE




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